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                                           Exhibit B

                                        Proposed Order




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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE


    In re
                                                                             Chapter 11

    FTX TRADING LTD., et al.,1                                               Case No. 22-11068 (JTD)

                                                                             (Jointly Administered)
                                 Debtors.

                                                                             Re: Docket No. ____



             ORDER GRANTING MOTION OF THE JOINT PROVISIONAL LIQUIDATORS
                       OF FTX DIGITAL MARKETS LTD. TO DISMISS
                  THE CHAPTER 11 CASE OF FTX PROPERTY HOLDINGS LTD
             Upon the consideration of the motion (the “Motion”) of Brian C. Simms KC, Kevin G Cambridge,

and Peter Greaves (“Joint Provisional Liquidators”), in their capacity as the joint provisional liquidators

of FTX Digital Markets Ltd. (“FTX Digital”) duly appointed by the Supreme Court of The Bahamas and

foreign representatives of the Provisional Liquidation (as defined below) of FTX Digital seeking the

dismissal of the chapter 11 case of FTX Property Holdings Ltd. (“FTX Property Holdings”) under sections

105(a), 109(a), 305(a), and 1112(b) of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as

amended, the “Bankruptcy Code”), all as more fully set forth in the Motion; and the Court having

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29, 2012; and

this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and that this Court

may enter a final order consistent with Article III of the United States Constitution; and this Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having found that notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and the Court having


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       The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of debtor entities in
       these Chapter 11 Cases, a complete list of the debtors (the “U.S. Debtors”) and the last four digits of their federal tax
       identification numbers is not provided herein. A complete list of such information may be obtained on the website of the U.S.
       Debtors’ proposed claims and noticing agent at https://cases.ra.kroll.com/FTX.

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reviewed the Motion; and the Court having determined that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and upon all of the proceedings had before the

Court and after due deliberation and sufficient cause appearing therefor,

          IT IS HEREBY ORDERED ADJUDGED, AND DECREED THAT:

          1.          The Motion is GRANTED as set forth herein.

          2.          The chapter 11 case of FTX Property Holdings is dismissed with prejudice.




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